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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


DEBORA D. TANNER, et al.,                         )
                                                  )
            Plaintiffs,                           )
                                                  )
      v.                                          )                Case No. 4:11-CV-1361 NAB
                                                  )
CITY OF SULLIVAN, et al.,                         )
                                                  )
           Defendants.                            )

                                     MEMORANDUM AND ORDER

           This matter is before the Court on Plaintiffs’ Motion to Strike Portions of Casey and Janssen

Affidavits Containing Expert Opinions and Defendants’ Motion to Exclude and Strike Proffered

Testimony of Plaintiffs’ Proposed Expert, Jeffrey Eiser. [Docs. 86, 109]. The parties have consented to

the jurisdiction of the undersigned United States Magistrate Judge pursuant to 28 U.S.C. § 636(c)(1). For

the following reasons, the Court will grant in part and deny in part the parties’ motions.

I.         Background

           Plaintiffs filed this action against Defendants after the suicide of Karen Palmer while in

Defendants’ custody. Count I of Plaintiffs’ Second Amended Complaint alleges Defendants are liable

pursuant to 42 U.S.C. § 1983 for deliberate indifference, failure to train, and failure to supervise. In

Count II, Plaintiffs’ allege Defendants are liable under Missouri’s wrongful death statute, Mo. Rev. Stat.

§ 537.080. Plaintiffs have proffered Jeffrey Eiser as an expert in this action.

II.        Defendants’ Motion to Exclude and Strike the Testimony of Plaintiffs’ Expert

           Defendants seek to exclude the testimony of Plaintiffs’ expert Jeffrey Eiser. Defendants contend

that Mr. Eiser’s report includes legal conclusions about negligence and deliberate indifference that

squarely address the ultimate issues in the case. Defendants also assert that Mr. Eiser is not qualified to

express an opinion that Defendants contributed to Palmer’s suicide. Plaintiffs respond that Mr. Eiser is a

qualified expert and his opinions are admissible under federal law and Federal Rule of Evidence 702.
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        A.      Standard for Admission of Expert Testimony

        Decisions regarding the admission of expert testimony lie within the broad discretion of the

district court. Russell v. Whirlpool Corp., 2012 WL 6554553 (8th Cir. 2012). Federal Rule of Evidence

702 provides as follows:

                     A witness who is qualified as an expert by knowledge, skill,
                     experience, training or education may testify in the form of an
                     opinion or otherwise if: (a) the expert’s scientific, technical, or
                     other specialized knowledge will help the trier of fact to
                     understand the evidence or determine a fact in issue; (b) the
                     testimony is based on sufficient facts or data; (c) the testimony
                     is the product of reliable principles and methods; and (d) the
                     expert has reliably applied the principles and methods to the
                     facts of the case.


Fed. R. Evid. 702. “Under Rule 702, it is the trial judge, in admitting expert testimony, who has the

gatekeeping responsibility to ensure than an expert’s testimony both rests on a reliable foundation and is

relevant to the task at hand. First Union Nat. Bank v. Benham, 423 F.3d 855, 861 (8th Cir. 2005) (citing

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999).

                     In making that determination, the district court may evaluate
                     one or all of the following factors: (1) whether the theory or
                     technique can be or has been tested; (2) whether the theory or
                     technique has a known or potential error rate and standards
                     controlling the technique’s operation; and (4) whether the
                     theory or technique is generally accepted in the scientific
                     community.

First Union, 423 F.3d at 861 (citing Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 593-94 (1993)).

“This evidentiary inquiry is meant to be flexible and fact specific, and a court should use, adapt, or reject

Daubert factors as the particular case demands. There is no single requirement for admissibility as long

as the proffer indicates that the expert evidence is reliable and relevant.” Unrein v. Timesavers, Inc., 394

F.3d 1008, 1011 (8th Cir. 2005). Further, an “opinion is not objectionable just because it embraces an

ultimate issue.” Fed. R. Evid. 704(a).




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        B.       Eiser’s Testimony

        Having reviewed the record, the Court will grant in part and deny in part, Defendants’ motion.

The Court is satisfied that Mr. Eiser is qualified to testify regarding industry standards, operations, and

polices in jail administration. Mr. Eiser’s opinion is also admissible regarding causation on Count II of

Plaintiffs’ Second Amended Complaint. Contrary to Defendants’ assertion in their motion, Plaintiffs are

not required to show that Palmer had a medical diagnosis. Kivland v. Columbia Orthopedic, 331 S.W.3d

299, 312 (Mo. 2011). Further, there is no requirement that the expert testimony be medical testimony.

The Plaintiffs are required to offer evidence that Palmer’s suicide was a direct result of Defendants’

negligence. Id. Because Plaintiffs cannot provide direct evidence as to why Palmer committed suicide,

an expert witness may be used to interpret the facts and data related to her injury and supply the causal

link from the injury to her death. See Kivland, 331 S.W. 3d at 310. Mr. Eiser’s experience as a jail

administrator gives him the necessary qualifications to be able to form an opinion as to whether based on

industry standards, Defendants’ actions or inactions contributed to Palmer’s suicide. A jury can choose to

believe or disbelieve Mr. Eiser’s testimony and determine the weight to give Mr. Eiser’s testimony in

light of the fact that he is not a medical doctor.

        The Court finds that Mr. Eiser cannot testify as to the ultimate issue of whether Defendants’

actions were deliberately indifferent to Palmer’s medical needs. “Expert opinion testimony is only

admissible if it will assist the trier of fact to understand the evidence or to determine a fact in issue.”

Peterson v. City of Plymouth, 60 F.3d 469, 475 (8th Cir. 1995). Mr. Eiser cannot provide testimony

regarding whether Defendants were deliberately indifferent to Palmer’s medical needs, because to prove

deliberate indifference a plaintiff must “prove that officials knew about excessive risks to his health but

disregarded them and that their unconstitutional actions in fact caused his injuries.” Gibson v. Weber, 433

F.3d 642, 646 (8th Cir. 2006) (internal citations omitted). Mr. Eiser cannot testify as to Defendants’

knowledge about any excessive risks to Palmer’s health. It is the jury’s province to determine what facts

are known to the Defendants. Peterson, 60 F.3d at 475. Therefore, Mr. Eiser’s testimony is not a fact-

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based opinion, but a statement of legal conclusion and legal conclusions are for the court to make.

Peterson, 60 F.3d at 475. The Court excludes any testimony from Mr. Eiser that any of the Defendants

were deliberately indifferent to Palmer’s medical needs, including any opinions expressed in Paragraph

19-B of his Expert Report. [Doc. 87-1, pp. 24-26].

III.     Plaintiff’s Motion to Strike Portions of Casey and Janssen Affidavits

         Plaintiffs request that the Court strike certain portions of defense witnesses Teri Casey and Jeri

Janssen’s affidavits. Plaintiffs contend that these affidavits contain expert opinions and neither Casey nor

Janssen have been tendered as expert witnesses. Defendants respond that the affidavit portions identified

by Plaintiffs are personal reflections of the witnesses’ observations and do not rise to the level of an

expert opinion.1

         A.        Standard for Lay Witness Testimony

         Federal Rule of Evidence 701 states that

                       If a witness is not testifying as an expert, testimony in the form
                       of an opinion is limited to one that is: (a) rationally based on
                       the witness’s perception; (2) helpful to clearly understanding
                       the witness’s testimony or to determining a fact in issue; and
                       (c) not based on scientific, technical, or other specialized
                       knowledge within the scope of Rule 702.

Fed. R. Evid. 701. “Personal knowledge or perceptions based on experience is sufficient foundation for

lay testimony.” U.S. v. Smith, 591 F.3d 974, 982 (8th Cir. 2010) (quoting In re Air Crash at Little Rock,

Arkansas on June 1, 1999, 291 F.3d 503, 515-16 (8th Cir. 2002) (internal quotations omitted).

“Perceptions based on industry experience are a sufficient foundation for lay opinion testimony.” Smith,

591 F.3d at 982. “This inquiry requires a case-by-case analysis of both the witness and the witness’s

opinion. Id. at 983.

         Witnesses who have strong backgrounds or experience in a particular line of work “may have

insights or understanding that justify admitting their opinions even though they lack formal training in the

subject area. Here, however, lay testimony may become almost indistinguishable from expert testimony

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  The Court notes that Defendants also contend that Plaintiffs waived their right to bring this motion, but the Court
finds that Plaintiffs did not waive the ability to bring this motion.

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and indeed the category of expert testimony under Fed. R. Evid. 703 includes people whose knowledge

comes from experience.”           3 CHRISTOPHER B. MUELLER AND LAIRD C. KIRKPARTRICK, FEDERAL

EVIDENCE § 7:3 (3d ed. 2012). “At the very least, however, courts in deciding whether to admit opinion

testimony from such sources should scrutinize with some care the bases for the opinions and guard

against allowing such witnesses to testify to points that require technical or special knowledge or

understanding that is beyond their experience and reach.”           Id., see Allied Sys., Ltd v. Teamsters

Automobile Transport Chauffeurs, Demonstrators and Helpers Local 604, Affiliated with the Int’l

Brotherhood of Teamsters, Chauffeurs, Warehousemen & Helpers of America, 304 F.3d 785 (8th Cir.

2002) (officer of business can testify to projected profits or damages, not based on experience within

realm of expert, but particularized knowledge of witness due to position in the business).

           B.       Affidavits

           Plaintiffs contend that the following portions of Janssen’s and Casey’s affidavits contain expert

opinion testimony2:

                         I feel my on the job training over the years has provided me
                         with valuable experience that has enhanced my ability to
                         identify when a person appears to be attempting to harm them
                         self.” [Doc. 130-1, ¶ 5-Casey Aff.]; [Doc. 130-2, ¶ 5- Janssen
                         Aff.]

                         Based on my experience, Ms. Palmer did not appear to require
                         any medical treatment. [Doc. 130-1, ¶ 8- Casey Aff.]; [Doc.
                         130-2, ¶ 8- Janssen Aff.]

                         Based on my experience, I did not suspect Ms. Palmer posed a
                         threat to herself because she appeared to behave normal. [Doc.
                         130-1, ¶ 14- Casey Aff.]; [Doc. 130-2, ¶ 14-Janssen Aff.]

The above recited portions of the affidavits present a close question regarding whether the affiants have

entered into the province of expert testimony. Although it is a close question, based on the language

noted above in context of the entirety of their affidavits, the Court finds that the opinions expressed by the

affiants in paragraphs 5 and 8 above constitute expert testimony by lay witnesses. The affiants may

testify as to their personal observations of Palmer’s conduct and their interactions with her prior to her

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    The Casey and Janssen affidavits include identical language.

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suicide. They cannot testify, however, that based on their experience and training, she did not appear to

require any medical treatment or that they have an enhanced ability to identify when a person would

appear to do harm to himself or herself. Therefore, the Court will grant in part and deny in part Plaintiffs’

motion.

IV.       Conclusion

          Based on the foregoing, the Court will grant in part and deny in part Defendants’ Motion to

Exclude and Strike Proffered Testimony of Plaintiffs’ Proposed Expert, Jeffrey Eiser. The Court will

grant in part and deny in part Plaintiffs’ Motion to Strike Portions of Casey and Janssen Affidavits

Containing Expert Opinions.

          Accordingly,

          IT IS HEREBY ORDERED that Plaintiffs’ Motion to Strike Portions of Casey and Janssen

Affidavits Containing Expert Opinions is GRANTED in part and DENIED in part. [Doc. 109]

          IT IS FURTHER ORDERED that Defendants’ Motion to Exclude and Strike Proffered

Testimony of Plaintiffs’ Proposed Expert, Jeffrey Eiser is GRANTED in part and DENIED in part.

[Doc. 86]

Dated this 9th day of January 2013.



                                                          /s/ Nannette Baker
                                                          NANNETTE A. BAKER
                                                          UNITED STATES MAGISTRATE JUDGE




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